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                     �nit£� �tat£s Qlourt of J\pp£als
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 19-5255                                                         September Term, 2019
                                                                    FILED ON:JUNE 5, 2020

BRIANJ.KAREM,
                       APPELLEE

V.

DONALDJ. TRUMP, IN HIS INDIVIDUAL CAPACITY AND OFFICIAL CAPACITY AS PRESIDENT OF THE
UNITED STATES AND STEPHANIE A. GRISHAM, IN HER INDIVIDUAL CAPACITY AND OFFICIAL
CAPACITY AS WHITE HOUSE PRESS SECRETARY,
                   APPELLANTS


                            Appeal from the United States District Court
                                    for the District of Columbia
                                        (No. 1:19-cv-02514)


       Before: SRINIVASAN, ChiefJudge, and TATEL and PILLARD, Circuit Judges

                                         J U D GMENT

       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

       ORDERED and ADJUDGED that the District Court's preliminary injunction appealed
from in this cause be affirmed but that its scope be limited to run only to the Press Secretary, in
accordance with the opinion of the court filed herein this date.

                                            Per Curiam



                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     Isl

                                                              Daniel J. Reidy
                                                              Deputy Clerk


Date: June 5, 2020

Opinion for the court filed by Circuit Judge Tatel.
